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                   EXHIBIT 4
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  via Email at jessica.miller@skadden.com

  December 26, 2022

  Jessica Davidson Miller
  Skadden, Arps, Slate, Meagher & Flom LLP
  1440 New York Avenue
  N.W. Washington, D.C. 20005

  Re: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation, Civil Action
      No. 19-md-2875

  Dear Attorney Miller:

          We have received a subpoena in the above referenced case requesting production of
  documents on December 28, 2022. This letter serves as an objection under Federal Rules of
  Civil Procedure 26(b) and 45.

         Specifically, we object to the definitions and instructions to the extent they are
  inconsistent with Valisure’s obligations under the Federal Rules of Civil Procedure. We object to
  any request that requires the disclosure of privileged or otherwise protected information or
  communications. Valisure objects to the Subpoena to the extent it imposes undue costs on a third
  Party and reserves the right to seek compensation or reimbursement for any costs incurred.

          Valisure also reserves the right to seek a Protective Order or Motion to Quash. Valisure is
  reviewing whether proper service of the Subpoena has been made and reserves the right to object
  to the Subpoena for improper service.

          Subject to the foregoing objections, Valisure is aware that plaintiffs in the above
  referenced case are challenging this subpoena and at this time Valisure defers to the Court or
  other resolution of this matter.


  Sincerely,




  David Light, CEO
  Valisure LLC



  Valisure. 5 Science Park, New Haven, CT 06511, 203-859-5964, www.valisure.com
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